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                         UNITED STATES BANKRUPTCY COURT
                 MIDDLE DISTRICT OF NORTH CAROLINA WINSTON-SALEM

        IN RE: HALL III RAIMOND BALDWI                          ) CHAPTER 13
               HALL TERRY BUTNER                                )
                                                                ) CASE NO. 08-51286
        Debtor(s).                                              )

                        RESPONSE TO NOTICE OF FINAL CURE PAYMENT

       Now comes Green Tree Servicing LLC, pursuant to Bankruptcy Rule 3002.1 (g) and for its
Response to the Trustee's Notice of Final Cure Payment states as follows:

G      The Creditor’s Authorized Agent concurs that all prepetition arrears have been paid in full and
       the Debtor(s) are current in post petition payments. The next payment is due 07/05/2013 in the
       amount of $278.91 which is comprised of $278.91 principle and interest, $0.00 escrow charges,
       and $0.00 other charges.

G      The Creditor’s Authorized Agent concurs that all prepetition arrears have been paid in full, but
       the Debtor(s) are DELINQUENT in post petition payments. The payments are past due for in the
       amount of $:
                                                       Principle & Interest:
                                                       $_______
                                                       Escrow Charges:
                                                       $________
                                                       Other Charges:           $_____________

                                                       Total Due:
                                                       $_____________.

G      The Creditor’s Authorized Agent denies that all pre petition arrears have been paid. According to
       the records of the Creditor, an arrears claim was filed in the amount of $__________ and the
       Trustee has paid a total of $____________. See ECF Claim No. _____. In addition, the
       Debtor(s) are DELINQUENT in post petition payments. The payments are past due for
       _______________, 2013 in the amount of $____________:

                                                       Principle & Interest:
                                                       $_____________
                                                       Escrow Charges:
                                                       $_____________
                                                       Other Charges:           $_____________

                                                       Total Due:
                                                       $_____________.
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G   The Creditor’s Authorized Agent denies that all prepetition arrears have been paid. According to
    the records of the Creditor, an arrears claim was filed in the amount of $__________ and the
    Trustee has paid a total of $____________. See ECF Claim No. _____. The Debtor(s) are
    current in post petition payments. The next payment is due _______________, 2013 in the
    amount of $____________ which is comprised of $__________ principle and interest,
    $_________ escrow charges, and $__________ other charges.



                                            By :
                                            /s/ Jamie Crawford
                                            BK Rep
                                            Green Tree Servicing LLC
                                            PO BOX 6154
                                            Rapid City, South Dakota 57709-6154
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                  IN THE UNITED STATES BANKRUPTCY COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA WINSTON-SALEM


IN RE: HALL III RAIMOND BALDWI
       HALL TERRY BUTNER                                          NO. 08-51286


                                CERTIFICATE OF SERVICE


      I, Jamie Crawford, do hereby certify that I have served a true and correct copy of the

RESPONSE TO NOTICE OF FINAL CURE PAYMENT filed by Green Tree Servicing LLC on

6/18/13 via ECF notification service John A. Meadows, kovercash@triad.rr.com; Kathryn L.

Bringle, office@chapter13ws.com.

      DATED: This the 18th day of June, 2013.



                                               /s/ _Jamie Crawford_




Jamie Crawford
Bankruptcy Specialist
Green Tree Servicing, LLC
P.O. Box 6154
Rapid City, SD 57703
